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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION


      REV. PAUL A. EKNES-TUCKER et
      al.,

                 Plaintiffs,                       CIVIL ACTION NO.
                                                   2:22-cv-00184-LCB-SRW
      v.

      KAY IVEY et al.,

                 Defendants.


                    CONFLICT DISCLOSURE STATEMENT

       Comes now the United States of America, by and through the undersigned

counsel, and makes the following Conflict Disclosure Statement in accordance

with this Court’s General Order No. 3047:

       The United States is a government entity.

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Dated: April 29, 2022                  Respectfully submitted,

                                       SANDRA J. STEWART
                                       United States Attorney
                                       Middle District of Alabama

                                       PRIM F. ESCALONA
                                       United States Attorney
                                       Northern District of Alabama

                                       LANE H. WOODKE
                                       Chief, Civil Division
                                       Northern District of Alabama

                                       s/ Jason R. Cheek
                                       JASON R. CHEEK
                                       Deputy Chief, Civil Division
                                       U.S. Attorney’s Office
                                       Northern District of Alabama
                                       1801 Fourth Avenue North
                                       Birmingham, Alabama 35203
                                       (205) 244-2104
                                       jason.cheek@usdoj.gov




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                           CERTIFICATE OF SERVICE

      I hereby certify that on April 29, 2022, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to counsel of record.



                                              Respectfully submitted,

                                              /s/ Jason R. Cheek
                                              Jason R. Cheek
                                              Assistant U.S. Attorney
